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5    Attorney for Defendant
     Tommy Ware
6

7                      IN THE UNITED STATES DISTRICT COURT
                  IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,         ) Case No. Cr.S-13-0054 KJM
10                                     )
                  Plaintiff,           ) STIPULATION AND PROPOSED ORDER
11                                     ) MODIFYING CONDITIONS OF RELEASE
          vs.                          )
12                                     )
                                       )
13   TOMMY WARE                        )
                                       )
14                                     )
                  Defendant
                                       )
15

16
          For the reasons stated below, defendant, TOMMY WARE, alone,
17
     through counsel, and the Government, through counsel, Assistant
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     United States Attorney, Jason Hitt, stipulate that MR. Ware’s
19
     condition of release may be modified to delete the requirement
20
     of Electronic Monitoring. This stipulation has been discussed
21
     with Pre-trial Services Officer, Darryl Walker, and he concurs.
22
          By this Court’s previous order of February 4, 2013 Mr. Ware
23

24   was placed released on conditions and Pre-Trial supervision.

25   Those conditions have included Electronic Monitoring. It is Mr.

     Walker’s considered opinion that Electronic Monitoring is no


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1    longer required. All other conditions of release, however, shall
2    remain in full force and effect.
3
     IT IS SO STIPULATED
4

5
     /s/Jason Hitt
6    JASON HITT, Esq.,                        Dated: October 8, 2013
     Assistant United States Attorney
7    Attorney for Plaintiff

8    /S/MICHAEL B. BIGELOW                    Dated: October 8, 2013
     Michael B. Bigelow
9    Attorney for Defendant
     Tommy Ware
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                                IT IS SO ORDERED

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15   Hon. Allison Claire                           DATED: October 8, 2013
     United States Magistrate Judge
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24   
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